                                                                                                                                                    ..._   -
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     Case 1:22-mc-20707-JEM Document 31-2 Entered on FLSD Docket 06/17/2022 Page 1 of 6

                                                                                                          EXHIBIT "2"



     Serial No. 31/22                                                                                           31/22 'WPO l!lOY.l
                                                                                                                            1   lt,Y.)   t,!))\:>
     Form No. 1


               AUTHENTICATION OF SIGNATURE

                                                              1!lO):) )1''tl'1 ,).l:i )1'1"U   01N:io,1 nrm,   'T1N   m:>r.> omnn 'lN
      1, the undersigned, Udi Yehuda Weisbaum Notary
                                                              :nn,:i ,17\!lr.>:i 'l!l? J!P> 12_ 5_ 2022 oP:i ,:, l\!INn 21os126
      holding license no. 2105126, hereby certify that on                                  ",,,1!) nm).! ,r.> J'JN ,l1:i 31 ,,,:in
      May 12, 2022 appeared before me at My Office at
      31 Habarzel St. Tel-Aviv, Mr. Amit Forlit,
                                                              1111116174 7!:>0r.> ,,1-n\!n )l:>11 '!:>,).I,, nn:,1n mlm'il C8l
      □who is known to me personally
                                                                                                            15.1.2020 o,,.:i p!llln'll
      t&lwhose identity has been proven to me by Israeli
      Passport number�174 issued on January 15,
                                                              n?W!ln m�n\!ln nN nN,n m:in ,,:in            'l!>J j�'lil ,:, 'l"l).ll:>1'lll
      2020
                                                                "A" ri°1N:i v::rnn:m1 'lll�r.m 1001.m 7).1 ''ll!llnn ,mno onn,
      And I am convinced that the person standing
      before me understood fully the significance of the
                                                              ,1, nnmn::i "''l,!l n,m, 70 ,\!I mr.,,nn nN rmNo 'lN mN,,
      action    and _ voluntarily signed the       attached                                       .12.s.2on ovn ,'r.>mn:11
    _ -document marked with the letter "A"
      In witness whereof, I hereby authenticate the
       signature of Mr. Amit Forlit by my own signature
       and seal this day May 12, 2022.
                                                                   ..,.

      Notary fee 198 NIS




                                                                 ......
                                             Signature                                         nnmn
Case 1:22-mc-20707-JEM Document 31-2 Entered on FLSD Docket 06/17/2022 Page 2 of 6




                                               AFFIDAVIT OF AMIT FORLIT




                  BEFORE ME, the undersigned authority, this day personally appeared, AMIT FORLIT, who,

    after first being duly sworn, deposes and says as follows:

    1. I, Amit Forlit, am over the age of 18, I am competent to make this affidavit, and I make this
       affidavit based on my personal knowledge.

    2. I do not reside in the State of Florida, and I do not reside in the United States.

    3. Though SDC-GADOT, LLC was formed in 2017 as a Florida company, it has not conducted
       business in the State of Florida. And_ I never conducted any business on behalf of the company
       in the State of Florida. In fact, though the entity has remained active, it has not conducted
       any business in years.

                       Further Affiant Sayeth Naught Sworn.

                       Dated: May 12, 2022.




            SWORN TO AND SUBSCRIBED before me this li_day of May 2022, by AMIT FORLIT, whe
    is �ersenall•; knewn te FAe ( ) / who has produced a valid identification card for purposes of
    identification { ).

      ... =    - ... --
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Case 1:22-mc-20707-JEM Document 31-2 Entered on FLSD Docket 06/17/2022 Page 3 of 6
Case 1:22-mc-20707-JEM Document 31-2 Entered on FLSD Docket 06/17/2022 Page 4 of 6
Case 1:22-mc-20707-JEM Document 31-2 Entered on FLSD Docket 06/17/2022 Page 5 of 6
Case 1:22-mc-20707-JEM Document 31-2 Entered on FLSD Docket 06/17/2022 Page 6 of 6
